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                                                                                                     E-FILED
                                                               Thursday, 27 October, 2016 04:26:28 PM
                                                                         Clerk, U.S. District Court, ILCD
                     IN THE UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

                                 )
HYE-YOUNG PARK, a/k/a LISA PARK, )
                                 )
      Plaintiff,                 )
                                 )
      v.                         ) Case No.:15-cv-2136
                                 )
MICHAL T. HUDSON, individually,  )
HEIDI JOHNSON, individually,     )
CHARLES SECOLSKY, individually,  )
ROBERT STAKE, individually,      )
and THE BOARD OF TRUSTEES OF THE )
UNIVERSITY OF ILLINOIS,          )
                                 )
      Defendants.                )
                                 )

                              AGREED PROTECTIVE ORDER

      The parties to this Agreed Protective Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

1) Scope. All materials produced or adduced in the course of discovery, including initial

   disclosures, responses to discovery requests, deposition testimony and exhibits, and

   information derived directly therefrom (hereinafter collectively “documents”), shall be

   subject to this Order concerning Confidential Information as defined below. This Order is

   subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters

   of procedure and calculation of time periods.

2) Confidential Information. As used in this Order, “Confidential Information” means

   information for which there is good cause for a protective order within the meaning of Rule

   26(c) of the Federal Rules of Civil Procedure. Such information may, but does not

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   necessarily, include: (a) information prohibited from disclosure by statute; (b) information

   that reveals trade secrets; (c) research, technical, commercial or financial information that the

   party has maintained as confidential; (d) medical or mental health information concerning

   any individual; (e) personal identity information; (f) income tax returns (including attached

   schedules and forms), W-2 forms and 1099 forms; or (g) personnel or employment records.

   Information or documents that are available to the public may not be designated as

   Confidential Information.

       There exists good cause pursuant to Rule 26(c) for entry of a protective order governing

the disclosure of Confidential Information. However, this Order shall not be construed as a

waiver of any right that the parties may have to object to the disclosure of any material based on

relevance, privilege, vagueness, overbreadth or any other objection.

       All parties have agreed to the entry of this Agreed Protective Order.

3) Challenges by a Party to Designation as Confidential Information. The parties do not

   concede that all of their production requests will require protection as Confidential

   Information but for purposes of proceeding cooperatively to conduct discovery, the parties

   agree to the provisions of this Order. The designation of any material or document as

   Confidential Information is subject to challenge by any party. The following procedure shall

   apply to any such challenge.

       a) Meet and Confer. A party challenging the designation of Confidential Information

           must do so in good faith and must begin the process by conferring directly with

           counsel for the designating party. In conferring, the challenging party must explain

           the basis for its belief that the confidentiality designation was not proper and must

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         give the designating party an opportunity to review the designated material, to

         reconsider the designation, and, if no change in designation is offered, to explain the

         basis for the designation. The designating party must respond to the challenge within

         five (5) business days.

      b) Judicial Intervention. A party that elects to challenge a confidentiality designation

         may file and serve a motion that identifies the challenged material and sets forth in

         detail the basis for the challenge. Each such motion must be accompanied by a

         competent declaration that affirms that the movant has complied with the meet and

         confer requirements of this procedure. The designation of information as Confidential

         Information does not create a presumption in favor or against that status. In the event

         of a dispute as to whether specific material is Confidential Information, the party

         asserting confidentiality shall bear the burden of establishing good cause for a

         protective order within the meaning of Rule 26(c) of the Federal Rules of Civil

         Procedure. Until the Court rules on the challenge, all parties shall continue to

         treat the materials as Confidential Information under the terms of this Order.

4) Designation.

      a) A party may designate a document as Confidential Information for protection under

         this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER” on the document and on all copies in a manner that will not

         interfere with the legibility of the document. As used in this Order, “copies” includes

         electronic images, duplicates, extracts, summaries or descriptions that contain the

         Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO

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          PROTECTIVE ORDER” shall be applied prior to or at the time of the documents are

          produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO

          PROTECTIVE ORDER” to a document does not mean that the document has any

          status or protection by statute or otherwise except to the extent and for the purposes

          of this Order.        Any copies that are made of any documents marked

          “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” shall be also be so

          marked, except that indices, electronic databases or lists of documents that do not

          contain substantial portions or images of the text of marked documents and do not

          otherwise disclose the substance of the Confidential Information are not required to

          be marked.

5) Depositions.    Deposition testimony is protected by this Order only if designated as

   “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the record at the time the

   testimony is taken. Such designation shall be specific as to the portions that contain

   Confidential Information. Deposition testimony so designated shall be treated as Confidential

   Information protected by this Order until fourteen days after delivery of the transcript by the

   court reporter to any party or the witness. Within fourteen days after delivery of the

   transcript, a designating party may serve a Notice of Designation to all parties of record

   identifying the specific portions of the transcript that are designated Confidential

   Information, and thereafter those portions identified in the Notice of the Court.




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6) Protection of Confidential Material.

   a) General Protections. Confidential Information shall not be used or disclosed by the

      parties, counsel for the parties or any other persons identified in subparagraph (b) for any

      purpose whatsoever other than in this litigation, including any appeal thereof.

   b) Limited Third-Party Disclosures. The parties and counsel for the parties shall not

      disclose or permit the disclosure of any Confidential Information to any third person or

      entity except as set forth in subparagraphs i)-ix). Subject to these requirements, the

      following categories of persons may be allowed to review Confidential Information:

          i) Counsel. Counsel for the parties and employees of counsel who have

             responsibility for the action;

          ii) Parties. Individual parties and employees of a party but only to the extent

             counsel determines in good faith that the employee’s assistance is reasonably

             necessary to the conduct of the litigation in which the information is disclosed;

          iii) The Court and its personnel.

          iv) Court Reporters and Recorders. Court reporters and recorders engaged for

             depositions;

          v) Contractors. Those persons specifically engaged for the limited purpose of

             making copies of documents or organizing or processing documents, including

             outside vendors hired to process electronically stored documents;

          vi) Consultants and Experts. Consultants, investigators, or experts employed by

             the parties or counsel for the parties to assist in the preparation and trial of this




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              action but only after such persons have completed the certification contained in

              Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

          vii) Witnesses at depositions. During their depositions, witnesses in this action to

              whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

              documents containing Confidential Information, except witnesses may receive a

              copy of all exhibits marked at their depositions in connection with review of the

              transcripts. Pages of transcribed deposition testimony or exhibits to depositions

              that are designated as Confidential Information pursuant to the process set out in

              this Order must be separately bound by the court reporter and may not be

              disclosed to anyone except as permitted under this Order.

         viii) Author or recipient. The author or recipient of the document (not including

             person who received the document in the course of litigation); and

          ix) Others by Consent. Other persons only by written consent of the producing

              party or upon order of the Court and on such conditions as may be agreed or

              ordered.

   c) Control of Documents. Counsel shall maintain the originals of the forms signed by

      persons acknowledging their obligations under this Order for a period of three years after

      the termination of the case.

7) Inadvertent Failure to Designate.       An inadvertent failure to designate a document as

   Confidential Information does not, standing alone, waive the right to so designate the

   document; provided, however, that a failure to serve a timely Notice of Designation of

   deposition testimony as required by this Order, even if inadvertent, waives any protection for

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   deposition testimony. If a party designates a document as Confidential Information after it

   was initially produced, the receiving party, on notification of the designation, must make a

   reasonable effort to assure that the document is treated in accordance with the provisions of

   this Order. No party shall be found to have violated this Order for failing to maintain the

   confidentiality of material during a time when that material has not been designated

   Confidential Information, even where the failure to so designate was inadvertent and where

   the material is subsequently designated Confidential Information.

8) Filing of Confidential Information. This Order does not, by itself, authorize the filing of

   any document under seal. Any party wishing to file a document designated as Confidential

   Information in connection with a motion, brief or other submission to the Court must comply

   with Local Rule 5.10.

9) No Greater Protection of Specific Documents. Except on privilege grounds not addressed

   by this Order, no party may withhold information from discovery on the ground that it

   requires protection greater than that afforded by this Order unless the party moves for an

   order providing such special protection.

10) Action by the Court.     Applications to the Court for an order relating to materials or

   documents designated Confidential Information shall be by motion. Nothing in this Order or

   any action or agreement of a party under this Order limits the Court’s power to make orders

   concerning the disclosure of documents produced in discovery or at trial.

11) Use of Confidential Documents or Information at Trial. Nothing in this Order hall be

   construed to affect the use of any document, material, or information at any trial or hearing.

   A party that intends to present or that anticipates that another party may present Confidential

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   Information at a hearing or trial shall bring that issue to the Court’s and parties’ attention by

   motion or in a pretrial memorandum without disclosing the Confidential Information. The

   Court may thereafter make such orders as are necessary to govern the use of such documents

   or information at trial.

12) Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

   a) If a receiving party is served with a subpoena or an order issued in other litigation that

       would compel disclosure of any material or document designated in this action as

       Confidential Information, the receiving party must so notify the designating party, in

       writing, immediately and in no event more than three court days after receiving the

       subpoena or order. Such notification must include a copy of the subpoena or court order.

   b) The receiving party also must immediately inform in writing the party who caused the

       subpoena or order to issue in the other litigation that some or all of the material covered

       by the subpoena or order is the subject of this Order. In addition, the receiving party must

       deliver a copy of this Order promptly to the party in the other action that caused the

       subpoena to issue.

   c) The purpose of imposing these duties is to alert the interested persons to the existence of

       this Order and to afford the designating party in this case an opportunity to try to protect

       its Confidential Information in the court from which the subpoena or order issued. The

       designating party shall bear the burden and the expense of seeking protection in that court

       of its Confidential Information, and nothing in these provisions should be construed as

       authorizing or encouraging a receiving party in this action to disobey a lawful directive

       from another court. The obligations set forth in this paragraph remain in effect while the

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         party has in its possession, custody or control Confidential Information by the other party

         to this case.

13) Challenges by Members of the Public to Sealing Orders.                       A party or interested member

    of the public has a right to challenge the sealing of particular documents that have been filed

    under seal, and the party asserting confidentiality will have the burden of demonstrating the

    propriety of filing under seal.

14) Obligations on Conclusion of Litigation.

    a) Unless otherwise agreed or ordered, this Order shall remain in force after dismissal or

         entry of final judgment not subject to further appeal.

    b) Within sixty-three days after dismissal or entry of final judgment not subject to further

         appeal, all Confidential Information and documents marked “CONFIDENTIAL -

         SUBJECT TO PROTECTIVE ORDER” under this Order, including copies as defined in

         ¶ 4(a), shall be returned to the producing party unless: (1) the document has been offered

         into evidence or filed without restriction as to disclosure; (2) the parties agree to

         destruction to the extent practicable in lieu of return;1 or (3) as to documents bearing the

         notations, summations, or other mental impressions of the receiving party, that party

         elects to destroy the documents and certifies to the producing party that it has done so.

         Notwithstanding the above requirements to return or destroy documents, counsel may

         retain attorney work product, including an index that refers or relates to designated

         Confidential Information so long as that work product does not duplicate verbatim


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  The parties may choose to agree that the receiving party shall destroy documents containing Confidential
Information and certify the fact of destruction, and that the receiving party shall not be required to locate, isolate
and return e-mails (including attachments to emails) that may include Confidential Information, or Confidential
Information contained in deposition transcripts or drafts or final expert reports.
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       substantial portions of Confidential Information, and one complete set of all documents

       filed with the Court including those filed under seal. Any retained Confidential

       Information shall continue to be protected under this Order. An attorney may use his or

       her work product in subsequent litigation provided that its use does not disclose or use

       Confidential Information.

   c) Deletion of Documents Filed under Seal from ECF System. Filings under seal shall

       be deleted from the ECF system only upon order of the Court.

15) Order Subject to Modification. This Order shall be subject to modification by the Court on

   its own initiative or on motion of a party or any other person with standing concerning the

   subject matter.

16) No Prior Judicial Determination. This Order is entered based on the representations and

   agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

   be construed or presented as a judicial determination that any document or material

   designated Confidential Information by counsel or the parties is entitled to protection under

   Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

   may rule on a specific document or issue.

17) Persons Bound.    This Order shall take effect when entered and shall be binding upon all

   counsel of record and their law firms, the parties, and persons made subject to this Order by

   its terms.

So Ordered.

Dated: October 27, 2016                                    s/ ERIC I.LONG___________
                                                            Eric I. Long
                                                           United States Magistrate Judge

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